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             IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION
____________________________________
                                      )
GEORGIA COLLEGE OF EMERGENCY )
PHYSICIANS, et al.,                   )
                                      )
                Plaintiffs,           )
                                      )
          v.                          )    No. 1:21-cv-05267-MHC
                                      )
U.S. DEPARTMENT OF HEALTH AND )
HUMAN SERVICES, et al.,               )
                                      )
                Defendants.           )
____________________________________)


     JOINT MOTION TO CONTINUE THE STAY OF PROCEEDINGS

      The parties respectfully request that the Court stay proceedings in this case

for an additional thirty (30) days. The reasons for this request are as follows:

      1.     In this case, Plaintiffs challenge portions of an interim final rule that

implements aspects of the No Surprises Act. See Requirements Related to Surprise

Billing; Part II, 86 Fed. Reg. 55,980 (Oct. 7, 2021).

      2.     There are similar challenges to the interim final rule pending in several
other districts, including the Eastern District of Texas.

      3.     On February 23, 2022, the U.S. District Court for the Eastern District

of Texas issued a judgment that vacated portions of the same interim final rule that


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Plaintiffs challenge in this Court. Tex. Med. Ass’n et al. v. Dept. of Health and

Human Servs. et al., No. 6:21-CV-425-JDK, 2022 WL 542879, at *15 (E.D. Tex.

Feb. 23, 2022).

      4.     The Defendants have already taken comments from the public, and

have begun preparing a final rule. The Defendants anticipate that a final rule will be

issued by the early summer of 2022. That final rule will replace the portions of the

interim final rule that Plaintiffs have challenged in this action, and that were also at
issue in Texas Medical Association.

      5.     The Defendants filed a notice of appeal of the judgment in Texas

Medical Association. The Defendants anticipate that the final rule will be issued
before that appeal would be fully briefed or decided. The Fifth Circuit has granted

the parties’ request to stay that appeal in anticipation of the issuance of the final rule.

See Order, Tex. Med. Ass’n v. HHS, No. 22-40264 (5th Cir. May 3, 2022).
      6.     In light of the vacatur of the interim final rule and the forthcoming final

rule, the parties jointly moved for a stay of proceedings in this case for sixty days.

This Court granted that motion. Order Granting Joint Motion for Stay, ECF No. 25.

      7.     For the same reasons, the parties jointly moved to continue the stay of

proceedings in this case for an additional forty-five days. This Court granted that

motion as well. Order Granting Joint Motion for Stay, ECF No. 29.




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      8.     The parties have conferred and have agreed that it would best serve the

interests of efficiency and economy to continue the stay of proceedings in this case

for an additional thirty days.

      9.     This Court has the inherent power to grant this request to continue the

stay of proceedings. See, e.g., Four Seasons Hotels & Resorts, B.V. v. Consorcio

Barr S.A., 377 F.3d 1164, 1172 n.7 (11th Cir. 2004) (“[A] district court ... retains the

inherent authority to issue a stay for the purposes of managing its own docket.”); see
also Life Ins. Co. of N. Am. v. Williams, No. 1:15-cv-62, 2015 WL 10961833, at *3

(N.D. Ga. May 22, 2015) (“District courts enjoy the authority to control the

disposition of the causes on its docket with economy of time and effort for itself, for
counsel, and for the litigants.”).

      10.    The parties also respectfully request that they be permitted to file a joint

status report on or before Monday, July 18, 2022.
      11.    Accordingly, the parties respectfully request that the Court: (1) stay this

case for an additional thirty (30) days; (2) enter an order instructing the parties to

submit a joint status report on or before Monday, July 18, 2022.

      12.    A proposed order reflecting this proposal is attached.



Dated: June 13, 2022                    Respectfully submitted,

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